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NOT FOR PUBLICATION

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

  JAMES COE,                                       :
                                      Plaintiff,   :
                                                   :    Civil Action No. 18-13338 (JXN) (JBC)
                       v.                          :
                                                   :
  ANTHONY BRULLO,                                  :                   ORDER
                                                   :
                                   Defendant.      :
                                                   :
                                                   :
                                                   :
                                                   :
                                                   :

NEALS, District Judge:

       Before this Court is the Report and Recommendation (“R&R”) entered on June 9, 2022, by

Magistrate Judge James B. Clark, III (“Judge Clark”), (ECF No. 55), recommending that Defendant

Anthony Brullo’s Motion to dismiss Plaintiff’s Amended Complaint pursuant to Fed. R. Civ. P.

12(b)(6) (ECF No. 41) be granted and Plaintiff’s claims be dismissed with prejudice. This Court has

reviewed the reasons set forth by Judge Clark in the R&R and notes that no objections were filed.

Based on the foregoing, and for good cause shown,

       IT IS on this 24th day of June, 2022,

       ORDERED that Magistrate Judge Clark’s June 9, 2022 R&R (ECF No. 55), is adopted as the

conclusions of law of this Court and that Defendant Anthony Brullo’s Motion to dismiss Plaintiff’s

Amended Complaint (ECF No. 41) is GRANTED and Plaintiff’s claims are dismissed WITH

PREJUDICE.


                                                       s/ Julien Xavier Neals
                                                       JULIEN XAVIER NEALS
                                                       United States District Judge
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Orig: Clerk
cc:   Parties
      James B. Clark, III, U.S.M.J.




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